                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CRIMINAL DOCKET NO.: 5:11CR73-RLV

UNITED STATES OF AMERICA                  )
                                          )
                                          )
            v.                            )                  NOTICE OF POSSIBLE
                                          )                    DEPARTURE
PARKS BRADLEY SHORE, and                  )                  FED. R. CRIM. P. 32(h)
JOHNNY SANFORD JOHNSON,                   )
            Defendants.                   )
__________________________________________)


       Pursuant to Rule 32(h) of the Federal Rules of Criminal Procedure, the Court hereby

provides the parties “reasonable notice” (i.e., a week in advance of the scheduled sentencing

hearings) of the possibility that the Court may depart from the sentencing guidelines in the

above-referenced cases on a ground not already identified for departure in either the Presentence

Investigation Report or the parties’ pre-hearing sentencing memoranda. FED. R. CRIM. P. 32(h).

More specifically, the undersigned is contemplating that a departure from the guidelines may be

warranted based upon factors identified within § 3553(a), and particularly “the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). To the extent either party requests to be

heard on the propriety of departure on this or any other basis and seeks additional time to

respond, a motion to continue supported by good cause will be entertained by the Court.

                                                       Signed: December 30, 2013




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